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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JAMAHL HARIM SIMMONS                                CIVIL ACTION

                       v.                           N0.18-873

STATE OF PENNSYLVANIA


                                              ORDER

        AND NOW, this 28th day of February 2018, upon close review of Plaintiffs extensive

Complaint (ECF Doc. No. 1) seeking dismissal of a criminal judgment against him for lack of

jurisdiction, release from a custodial sentence and return of forfeited property under the April 29,

2016 Judgment and Conviction Order and the July 12, 2016 Amended Judgment and Conviction

Order in this Court at No. 13-cr-669, ECF Doc. Nos. 315 and 328 (No. DPAE2.13.CR.669.01), it

is ORDERED:

        1.       The Complaint (ECF Doc. No. 1) is DISMISSED as we do not entertain a civil

action seeking release from custody or return of forfeited funds under a criminal sentence 1

without prejudice to Mr. Simmons to timely file a Petition under 28 U.S.C. § 2255 to be assigned

to the trial judge, Honorable C. Darnell Jones, II; and,

        2.       The Clerk of Court shall CLOSE this case.



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   Section 2255 motions are now the exclusive means by which a federal prisoner can challenge
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a conviction or sentence that allegedly is in violation of the Constitution or federal laws or that is
otherwise subject to collateral attack. See Davis v. United States, 417 U.S. 333, 343 (1974).
Thus, federal inmates who wish to challenge the lawfulness of their convictions or sentences
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must typically file motions under§ 2255 in the court of conviction." Sedlak v. US, No. 12-285,
2012, WL 832984, *2 (M.D. Pa. Feb. 14, 2012).
